 Case 1:21-cv-01599-RGA Document 81 Filed 12/19/23 Page 1 of 1 PageID #: 895




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

                                               )
ENZOLYTICS, INC.,
                                               )
                                               )
                       Plaintiffs,             )
                  v.                           ) Civil Action No. 21-1599-RGA
                                               )        Consolidated
CIMARRON CAPITAL, LTD.,                        )
                                               )
                       Defendants.             )
                                               )
                                               )
                                               )
                                               )

                          ENTRY OF APPEARANCE

      Please enter the appearance of Gerard M. O’Rourke, Esquire, of O’Kelly &

O’Rourke, LLC, as counsel for Defendants Cimarron Capital, Ltd., and Kona

Concepts, Inc., in the above-captioned consolidated matter.

Dated December 19, 2023,

OF COUNSEL                                  O’KELLY & O’ROURKE, LLC
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